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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                               :
 PATRICK REYNOLDS and DANIEL LEWIS, :
                                              Plaintiffs,      :
                                                               :   22 Civ. 6846 (LGS)
                            -against-                          :
                                                               :
 MARYMOUNT MANHATTAN COLLEGE,                                  :        ORDER
                                              Defendant. :
 ------------------------------------------------------------- X
                                                               :
  LUCIA MARANO,                                                :
                                               Plaintiff,      :   22 Civ. 7027 (LGS)
                                                               :
                             -against-                         :
                                                               :
  MARYMOUNT MANHATTAN COLLEGE,                                 :
                                               Defendant. :
  ------------------------------------------------------------ X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the above-captioned cases arise out of the same alleged data security

incident at Defendant Marymount Manhattan College and present substantially similar causes of

action against a common Defendant.

        WHEREAS, all parties have conferred and agree that consolidation is appropriate under

Federal Rule of Civil Procedure 42, which allows for the consolidation of actions involving

common questions of law or fact. On October 6, 2022, the parties in the above-captioned cases

filed a stipulation and proposed order regarding the consolidation of actions. It is hereby

        ORDERED that the cases will be consolidated for all purposes under the case name

Reynolds, et al., v. Marymount Manhattan College, No. 22 Civ. 6846, and all further filings shall

be made under that number. It is further

        ORDERED that Plaintiffs shall file a consolidated complaint by October 21, 2022.

Defendant shall file an answer or otherwise respond by November 11, 2022. The parties are
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directed to the Court’s Individual Rules regarding the requirements for pre-motion letters for any

planned motions. It is further

        ORDERED that, pursuant to Local Civil Rule 1.6, the parties shall notify the Court of

any action subsequently filed, transferred, or removed to this Court that arises out of the same or

similar operative facts for potential consolidation into this case or a determination of relatedness.

It is further

        ORDERED that the initial conferences in both cases scheduled for October 12, 2022, are

CANCELLED. The initial conference in the consolidated case will be held on November 16,

2022, at 4:10 p.m. The conference will be telephonic and will occur on the following

conference line: 888-363-4749; access code 558-3333. The time of the conference is

approximate, but the parties shall be prepared to begin at the scheduled time. The parties shall

file a joint letter and proposed case management plan by November 9, 2022.

Dated: October 6, 2022
       New York, New York




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